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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                      :
                                              :
       v.                                     :      Criminal No. 21-cr-45
                                              :
ANDREW JAMES WILLIAMS,                        :
                                              :
                      Defendant.              :

                                    NOTICE OF FILING

       In response to the Court’s January 10, 2022, Minute Order directing the government to

provide relevant video(s) to the Court, the government today sent two videos via USAfx to the

Court’s chambers and counsel for the defendant. In one video, with file name “0176-TP-

3367781_0000005_Import,” the defendant can be seen and heard while climbing the steps to the

Capitol. In the second, with file name “IMG_6266.mov,” the defendant can be seen and heard

walking through various areas of the Capitol, including the Crypt. As directed by the Court, the

government will make these videos available to the public through the “‘drop box’ technical

solution” implemented in accordance with Standing Order 21-28.



                                              Respectfully submitted,

                                              MATTHEW GRAVES
                                              United States Attorney


                                        By:           /s/
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